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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

     BOKF, N.A., as indenture trustee,

                       Plaintiff,

             v.                                                    Case No. 21-00028-KD-B

     BAMA OAKS RETIREMENT, LLC;
     SAINT SIMONS HEALTH CARE, LLC;
     and THE MEDICAL CLINIC BOARD OF
     THE CITY OF MOBILE (SECOND),

                       Defendants.


             RECEIVER’S MONTHLY OPERATING REPORT DATED JUNE 21, 2022
                           (ASSISTED LIVING FACILITY)

         Derek Pierce, managing partner of Healthcare Management Partners, LLC (“HMP”), as

 the court-appointed receiver (the “Receiver”) in the above-captioned action, submits this monthly

 operating report for the period from May 15, 2022 through June 11, 2022 (the “Reporting Period”).

           ADMINISTRATION OF THE RECEIVERSHIP ESTATE AND FACILITY OPERATIONS

         Since the Receiver’s appointment on April 13, 2021 pursuant to the Order Appointing

 Receiver (Dkt. No. 42) (the “Receivership Order”) 1 and subsequent acceptance of the Receiver’s

 appointment on April 16, 2021, the Receiver has gained access to and control over all of Bama

 Oaks Retirement, LLC’s assets and taken from Bama Oaks Retirement, LLC and Saint Simons

 Health Care, LLC all rights and powers with respect to the Facility, the Facility’s administration

 and operation, and all other aspects of the Receivership Estate. The Receiver continues providing

 oversight and direction to the current manager of the Facility, reviewing and analyzing past



 1
   Capitalized terms used in this monthly operating report and not otherwise defined shall have the meanings ascribed
 to them in the Receivership Order.
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 financial reports, and preparing forward-looking cash flow analyses and projections. The Receiver

 will continue to take all actions the Receiver deems necessary and advisable to fulfill the

 Receiver’s obligations under the Receivership Order.

                               TURNOVER OF ASSETS AND RECORDS

        Pursuant to the Receivership Order, the Receiver is to exercise his full power and authority

 to control, manage, administer, operate, and protect the Receivership Estate. In addition, the

 Receivership Order: (a) directs the Receiver to operate and administer the Receivership Estate in

 an economical and efficient manner in compliance with the terms and conditions of the Bond

 Documents and applicable law; and (b) authorizes and directs the Receiver to recover, collect,

 operate, maintain, preserve, and manage the Receivership Estate in the best interests of the

 Receivership Estate’s creditors. To that end, upon the Receiver’s acceptance of his appointment

 under the Receivership Order, the Receiver immediately demanded that the above-captioned

 defendants and their respective officers, directors, stockholders, members, managers, subscribers,

 agents, and any other persons acting in active concert with them deliver to the Receiver all items

 necessary to operate and administer the Receivership Estate. To date, other than with regards to

 the Facility’s early termination of its insurance program, the above-captioned defendants have

 cooperated with the Receiver. The Receiver will continue (y) investigating whether requests for

 additional information are necessary and (z) assessing whether the Receiver has obtained access

 to all of the Receivership Estate.

                          MANAGEMENT OF THE RECEIVERSHIP ESTATE

        The Receiver is maintaining exclusive possession and control over the Receivership Estate,

 as contemplated and directed by the Receivership Order. HMP Senior Solutions, LLC, an affiliate




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 of HMP, continues to serve as the management company for the Facility, managing the Facility

 under the direction and supervision of the Receiver.

                                      FINANCIAL PERFORMANCE

         Attached as Exhibit A to this monthly operating report is a cash flow analysis for the

 Reporting Period. As set forth in the attached cash flow analysis, as of the beginning of the

 Reporting Period, the Receivership Estate had a beginning cash balance of $68,421. During the

 Reporting Period, the Receivership Estate collected $208,941 in cash receipts (of which, $49,563

 consisted of transfers from the Independent Living Facility and Skilled Nursing Facility) and

 expended $164,381 in necessary operating expenses and $0 in necessary non-operating expenses,

 resulting in cash flow during the Reporting Period in the amount of $44,559. As a result, at the

 conclusion of the Reporting Period, the Receivership Estate had an ending cash balance of

 $112,980. As of the end of the Reporting Period, the Facility had: (a) nine (9) occupied assisted

 living units out of sixty-two (62) available assisted living units; and (b) thirty-six (36) occupied

 specialty care assisted living units out of fifty-six (56) available specialty care assisted living units.

                                INFORMATION REGARDING COVID-19

         In accordance with CDC guidance, the Facility is no longer conducting COVID-19 testing

 because the Facility is in a low transmission area. During the Reporting Period, there were no

 residents or employees who tested positive for COVID-19. The Facility continues to follow the

 recommendations for COVID-19 infection control and prevention issued by the World Health

 Organization, Centers for Disease Control, Centers for Medicare and Medicaid Services, and the

 State of Alabama.




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              RETENTION OF PROFESSIONALS AND INCURRED PROFESSIONAL FEES

        Pursuant to Paragraph 8(xxiv), the Receiver is authorized to engage professionals in the

 ordinary course of the Facility’s business, as the Receiver may, subject to the approval of the

 Trustee, deem necessary or advisable to assist the Receiver in the performance of its duties under

 the Receivership Order, with the fees and expenses of such professionals payable on a current basis

 from the Receivership Estate as operating expenses, subject to Paragraph 8(xxx) of the

 Receivership Order.

        Waller Lansden Dortch & Davis, LLP (“Waller”) continues to serve as general counsel to

 the Receiver and assist with the substantial legal work required to advise and represent the

 Receiver with respect to his general duties under the Receivership Order. In accordance with

 Paragraph 36 of the Receivership Order, the Receiver and Waller will seek payment of the

 Receiver’s and Waller’s fees and expenses on the twentieth of each calendar month, by filing fee

 applications setting for reasonably itemized time entries and expenses. In each instance a fee

 application is filed, unless a party files a written objection within thirty (30) calendar days of the

 filing of the respective fee application, the respective fee application will be deemed approved and

 the Receiver shall be authorized to pay the fees and expenses as necessary expenses of the

 operation of the Facility without further order of the Court.

        As previously reported, Blueprint Healthcare Real Estate Advisors, LLC (“Blueprint”) has

 been retained as the Receiver’s real estate broker and exclusive listing agent for the real and

 personal property associated with: (i) the skilled nursing facility commonly known as Knollwood

 Healthcare; (ii) the Facility; and (iii) the independent living facility commonly known as Gordon




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 Oaks Senior Living (collectively, the “Facilities”). 2 Blueprint has agreed to charge the Receiver

 the greater of (a) two percent (2%) commission on the gross sale price of the Facilities and (b) Two

 Hundred Thousand Dollars ($200,000), whether the Facilities are sold in one or multiple

 transactions. Blueprint is actively marketing the Facilities.

                       LIQUIDATION OF CLAIMS OF THE RECEIVERSHIP ESTATE

         As part of the Receiver’s duties and obligations under the Receivership Order, the Receiver

 undertook to investigate potential claims against third parties and whether any such claims should

 be pursued by way of legal action, in accordance with the Receiver’s power set forth in paragraphs

 8(xv) and 8(xviii) of the Receivership Order. As of the Reporting Period the Receiver has not

 identified any claims against third parties that it intends to pursue.

                                             CLAIMS PROCEDURES

         As previously reported, in accordance with the Order Granting Receiver’s Motion to

 Approve (I) Proposed Claims Verification Procedures, (II) Claims Bar Date, and (III) Proposed

 Claims Distribution Method (the “Claims Order”), the deadline to file claims was September 6,

 2021 at 5:00 p.m. (prevailing Central time). As also previously reported, (a) the Receiver has

 received sixteen (16) claims in accordance with and pursuant to the Claims Order; and (b) the

 Receiver has not undertaken to reconcile or otherwise determine the veracity of the claims filed to

 date, but the Receiver will undertake such actions at an appropriate time in the future as part of the

 Receiver’s claims reconciliation process during this proceeding.




 2
   The Receiver also serves as receiver and has retained Blueprint in similar capacities in BOKF, N.A., as indenture
 trustee v. Bama Oaks Retirement, LLC, No. 21-00029-KD-B and BOKF, N.A., as indenture trustee v. Gordon Jensen
 Health Care Association, Inc., et al., No. 21-00031-KD-B, each of which involve the Facilities.

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                                           SALE PROCESS

        On February 4, 2022, the Receiver filed Receiver’s Motion for Order: (I) Authorizing and

 Approving Bidding Procedures for the Sale of Substantially All of the Assets of the Receivership

 Estates; (II) Authorizing the Sale of Substantially All of the Assets of the Receivership Estates Free

 and Clear of All Liens, Claims, Encumbrances, and Other Interests; (III) Approving Stalking

 Horse Purchaser, Break-Up Fee, and Overbid Protections; (IV) Scheduling a Hearing to Approve

 the sale of Substantially All of the Assets of the Receivership Estates; and (V) Granting Related

 Relief (Dkt. No. 108) (the “Sale Motion”).

        As previously reported, the Court entered the Bidding Procedures Order (Dkt. No. 127),

 pursuant to which the Court, among other things, established May 6, 2022 at 5:00 p.m. (prevailing

 Central time) as the deadline to submit a competing bid, scheduled a public sale by auction to

 occur on May 12, 2022 at 9:30 a.m. at the main entrance of the Court, scheduled a hearing to

 consider approval of any sale for Friday, May 13, 2022 at 11:00 a.m. (this hearing was

 subsequently rescheduled to 1:30 p.m.), and established May 12, 2022 at 5:00 p.m. (prevailing

 Central time) as the deadline to file any objections to any sale.

        On May 12, 2022, the Receiver caused to be filed a Notice of Successful Bidder (Dkt. No.

 142), notifying the Court there was a single Qualified Bidder, the Successful Bidder was the

 Stalking Horse Purchaser, Southern Skilled Acquisitions I, LLC, and the Successful Bid was

 $12,000,000. On May 17, 2022, the Court entered the Order (I) Authorizing, Approving, and

 Directing the Sale of Substantially All of the Assets of the Receivership Estates to the Successful

 Bidder and Backup Bidder Free and Clear of All Liens, Claims, Encumbrances, and Other

 Interests; (II) Authorizing and Approving the Successful Bid and Backup Bid; (III) Approving

 Marketing and Sale Process; and (IV) Granting Related Relief (Dkt. No. 145) (the “Final Sale



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 Order”), approving a sale of substantially all assets of the Receivership Estate. Subject to and in

 accordance with the Final Sale Order, the Receiver will undertake all steps to close the sale of

 substantially all assets of the Receivership Estate as contemplated in the Sale Motion. The sale is

 currently scheduled to close between July 15, 2022 and August 1, 2022.

                                        PENDING MATTERS

           As of the date of this fourteenth monthly operating report, the following unopposed

 motions are pending:

    (i)       Receiver’s Motion to Approve Compensation for Services Rendered and Expenses
              Incurred for the Period From April 1, 2022 Through April 30, 2022 (Dkt. No. 148);
              and

    (ii)      Waller Lansden Dortch & Davis, LLP’s Motion to Approve Compensation for Services
              Rendered and Expenses Incurred as Counsel to Receiver April 1, 2022 Through April
              30, 2022 (Dkt. No. 149).




                            [Remainder of page intentionally left blank]




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 Dated: June 21, 2022                      Respectfully submitted,

                                             /s/ Brian J. Malcom
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                                           - and -

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                                           Attorneys for the Receiver, Derek Pierce of
                                           Healthcare Management Partners, LLC




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                                 CERTIFICATE OF SERVICE

 I, the undersigned, declare that a true and correct copy of the foregoing was served via the Court’s
 CM/ECF electronic noticing system on the date set forth below on the following:

  W. Joseph McCorkle , Jr.                            Frederic Dorwart
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 This 21st day of June, 2022.                            /s/ Brian J. Malcom
                                                        OF COUNSEL




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                                    EXHIBIT A

                               CASH FLOW REPORT
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Bama Oaks - Assisted Living
From the Period 05/15/2022 - 06/11/2022

Cash Flow WorkSheet                                        Actual    Actual    Actual   Actual                         Actual
Week Beginning Date                                      5/15/2022 5/22/2022 5/29/2022 6/5/2022 ##                   5/15/2022
Week Ending Date                                         5/21/2022 5/28/2022 6/4/2022 6/11/2022 ##                   6/11/2022

Total Unit Occupancy                                         38%            38%              37%          38%             38%
Total Available Units                                        118            118              118          118             118
Total Occupied Units                                          45             45               44           45              45
Available Independent Living Units                           n/a            n/a              n/a          n/a             n/a
Occupied Independent Living Units                            n/a            n/a              n/a          n/a             n/a
Available Assisted Living Units                               62             62               62           62              62
Occupied Assisted Living Units                                 9              9                9            9              9
Available SCALF Units                                          56            56                56          56              56
Occupied SCALF Units                                           36            36                35          36              36
Beginning Balance                                            $68,421        $7,982            $1,059     $41,265          $68,421

Cash Receipts
   Resident Payments - Independent Living                $         -    $         -      $       -   $    -          $        -
   Resident Payments - Assisted Living                             -              -           12,552   21,297              33,849
   Resident Payments - SCALF                                       -              -           31,101   94,428             125,529
   Resident Refunds                                                -              -              -        -                   -

Total Cash Receipts                                      $         -    $         -      $ 43,653       $ 115,725    $ 159,378
Cash Disbursements
   Labor                                                     (44,082)        (2,006)             -        (45,901)        (91,989)
   Contract Labor                                            (10,910)       (12,134)             -        (13,975)        (37,019)
   Management Fees                                               -              -                -            -               -
   Medical Director                                           (1,100)           -                -         (1,100)         (2,200)
   Insurance                                                     -              -                -            -               -
   Worker's Comp Insurance                                       -              -                -            -               -
   General & Administrative                                     (147)           (51)             -            (46)           (243)
   Dietary                                                    (3,037)        (2,986)          (2,774)      (3,252)        (12,048)
   Rental & Leases                                               -              -                -            -               -
   Utilities - Cable TV, Internet, & Phone                      (128)        (1,034)             -           (210)         (1,371)
   Utilities - Electricity                                    (4,348)          (490)             -            -            (4,838)
   Utilities - Gas                                               -              -                -            -               -
   Utilities - Pest Control                                     (108)           -               (326)        (172)           (605)
   Utilities - Waste Disposal                                    (74)        (1,160)            (348)        (348)         (1,931)
   Utilities - Water                                             -              -                -         (3,468)         (3,468)
   Supplies                                                     (165)           (59)             -           (343)           (567)
   Housekeeping                                                  -              -                -            -               -
   Repairs & Maintenance                                        (764)          (750)             -            (71)         (1,585)
   Travel                                                        -              -                -            -               -
   Marketing                                                  (2,975)        (3,111)             -            -            (6,086)
   Petty Cash                                                   (102)          (205)             -            -              (307)
   Professional Fees                                             -              -                -            -               -
   Taxes, Licenses, Dues & Fees                                  -              -                -           (124)           (124)
   Miscellaneous                                                 -              -                -            -               -
Total Cash Disbursements                                 $ (67,938) $ (23,986) $ (3,448) $ (69,010)                  $ (164,381)



Cash Flow From Operations                                    (67,938)       (23,986)          40,206      46,715           (5,003)

   Cap-EX                                                        -             -                   -         -                -
   Transfers to/from Indenture Trustee                           -             -                   -         -                -
   Approved, Paid Professional Fees                              -             -                   -         -                -
   Approved, Unpaid Professional Fees                            -             -                   -         -                -
   Accrued, Unpaid Professional Fees, Not Yet Approved           -             -                   -         -                -
   Net Due to/from Gordon Oaks - Independent Living            7,500           -                   -         -              7,500
   Net Due to/from Knollwood                                     -          17,063                 -      25,000           42,063
   Net Due to/from Marsh Pointe Management                       -             -                   -         -                -
   Net Due to/from St. Simons Healthcare                         -             -                   -         -                -
   Bankruptcy Fees                                               -             -                   -         -                -


Net Cash Flow                                            $ (60,438) $ (6,923) $ 40,206                  $ 71,715     $     44,559

Ending Balance                                                $7,982        $1,059           $41,265    $112,980         $112,980




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